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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MILLENNIUM IP, INC. and MILLENNIUM MEDIA, INC.,

        Plaintiffs,                                                Case No. 1:20-cv-03798

v.                                                                 Judge Martha M. Pacold

THE PARTNERSHIPS AND UNINCORPORATED                                Magistrate Judge M. David Weisman
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                 DEFENDANT
                 419                            MRGBEST Global Store
                 188                                    merrylady
                  49                                     Suroise
                 317                                  Qualitywatch
                 325                                    jinzhong
                 328                                      caojue
                 331                                   stylinghair
                 329                                     eugenel
                 327                                    beasy113
                 326                                    baibuju7
                 330                                     hirame
                 352                                      grega
                 415                                  YanTeng Inc
                 364                                    Janis_hair
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DATED: August 24, 2020               Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
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                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 24, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
